                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION (DETROIT)
In re:

Moussa H. Musa and                                       Case No. 16-42476
Laureen Musa,                                            Chapter 7
                                                         Hon. Mark A. Randon
      Debtors.
__________________________________/

Prescription Supply Inc. and
LTC Pharmacy, LLC,

         Plaintiffs,                                     Adversary Proceeding
                                                         Case No. 16-04497
v.

Moussa H. Musa and
Laureen Musa,

      Defendants.
__________________________________/

          OPINION AND ORDER: (1) GRANTING LAUREEN MUSA’S
     MOTION FOR SUMMARY JUDGMENT; (2) DENYING IN PART MOUSSA
      MUSA’S MOTION FOR SUMMARY JUDGMENT; AND (3) DENYING
       WITHOUT PREJUDICE MOUSSA MUSA’S MOTION TO DISMISS

I.       INTRODUCTION

         The failure of Advanced Pharmacy (“Advanced”) created a personal financial

crisis for Moussa “Mark” Musa, Advanced’s part owner and guarantor of its $1.3 million

business loan with Prescription Supply, Inc. (“PSI”). To address the outstanding debt,

Mark and PSI negotiated a series of contractual agreements, through which: (1) PSI

purchased Advanced’s assets, including its accounts receivables; (2) Mark signed a six-


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month employment agreement and promised to both assist in the transfer of Advanced’s

ongoing prescriptions to PSI’s subsidiary, LTC Pharmacy, LLC (“LTC”) and keep LTC’s

trade secrets and proprietary information confidential; and (3) Mark agreed not to start a

competing pharmacy within a set geographical radius for three years. In exchange, PSI

agreed to release Mark from his personal guarantee–a promising resolution. But things

didn’t go as planned: PSI and LTC (“Plaintiffs”) eventually sued Mark for breach of the

contracts and tortious interference; Mark and his wife, Laureen, jointly filed Chapter 7

bankruptcy. Plaintiffs filed this adversary proceeding to have the debt determined non-

dischargeable under sections 523(a)(2)(A), 523(a)(2)(B), and 523(a)(6); and have Mark

and Laureen’s discharge denied, in general, under sections 727(a)(2) and 727(a)(4)(A) of

the Bankruptcy Code.

       To avoid the principle that garden-variety contract claims are dischargeable in

bankruptcy, Plaintiffs now allege that Mark induced them to enter the contracts through

fraud. Specifically, Plaintiffs claim that when Mark signed the agreements, he had

already formed a would-be pharmacy–Care Home RX, Corp. (“Care Home”)–to compete

with LTC; he misrepresented Advanced’s accounts receivables and outstanding co-pays;

and, he lured Advanced’s former customers away from LTC to Care Home. All of this

occurred with the alleged assistance of his co-conspirator, Laureen.

       Mark and Laureen’s individual motions for summary judgment are pending. The

Court heard argument on August 28, 2017, and has reviewed all of the respective briefs

and exhibits. For the reasons discussed below, the Court GRANTS Laureen’s motion in

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its entirety, as there is no evidence that she was a party to the contractual agreements or

conspired with her husband. However, although the evidence on Plaintiffs’ lynchpin

claim that Mark had an ownership interest in Care Home is weak, the Court DENIES IN

PART Mark’s motion, because questions of fact remain.1

II.    BACKGROUND

       PSI is a wholesale pharmaceutical distributor. LTC, a wholly-owned subsidiary of

PSI, is a retail pharmacy that sells prescriptions to long-term care nursing facilities.

Advanced was a competing pharmacy owned by Mark and his brother, Mohammad

“Mike” Musa. Laureen worked for Advanced. On August 28, 2014, another competing

pharmacy, Care Home, was formed.2 There is no paper trail that connects Mark, Mike, or

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        Mark also requested dismissal under Fed. R. Civ. P. 12(b)(6). “Technically, . . . a
Rule 12(b)(6) motion cannot be filed after an answer has been submitted.” Westcott v.
City of Omaha, 901 F.2d 1486, 1488 (8th Cir. 1990); see also Rule 12(b)(6) (“A motion
asserting . . . [this] defense[] must be made before pleading if a responsive pleading is
allowed.”). However, after an answer is filed, the rules permit a motion for judgment on
the pleadings. Fed. R. Civ. P. 12(c). Instead of filing a substantive response to Mark’s
motion, Plaintiffs requested an opportunity to do so, if the Court treats the motion as one
under Rule 12(c). As such, the Court DENIES WITHOUT PREJUDICE Mark’s
motion to dismiss. Mark may inform the Court at the pretrial conference if he wishes to
pursue a motion for judgment on the pleadings. If so, the Court will allow Plaintiffs the
opportunity to file a substantive response.
       2
        See MICHIGAN’S DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS,
http://w1.lara.state.mi.us/businessentitysearch/dt_corp.asp?id_nbr=05858H&name_entity
=CARE%20HOME%20RX,%20CORP. (last visited September 13, 2017). Mahesh
Pydipati is listed on Care Home’s Articles of Incorporation. He is also listed as the
Incorporator on Care Home’s 2015 Annual Report; and as the President, Secretary,
Treasurer, Director, and Authorized Officer or Agent on the 2016 Annual Report. In fact,
paragraph 13 of Plaintiffs’ state-court Complaint alleges that “Defendant Care Home was
formed by Mahesh Pydipati, who resides in Columbus, Ohio, on August 28, 2014” (Dkt.
#1, Ex. A at p. 5 (CM/ECF pagination)).

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Laureen to Care Home.3

       PSI supplied prescriptions to Advanced for several years. Advanced and PSI

entered into a Credit Agreement; Mark signed a personal guaranty of Advanced’s debt.

At some point, Advanced fell insurmountably behind on its payments, and the parties

attempted to work out a deal.

       Two things happened on July 20, 2015: (1) Advanced signed an Asset Purchase

Agreement (“APA”) in which PSI agreed to purchase Advanced’s assets for $300,000.00;

and (2) Mark signed an Employment Agreement to work for LTC for at least six months.

PSI agreed to extinguish Advanced’s debt of over $1.3 million–and Mark’s personal

guaranty–if the agreements were fulfilled. Plaintiffs assert that Mark failed to keep his

end of the bargain and damaged LTC’s business in the process.

       On January 22, 2016, Plaintiffs filed a Complaint in the United States District

Court for the Northern District of Ohio against Mark, Mike, Laureen, and Care Home,

alleging breach of contract, tortious interference with business relationships,

misappropriation of trade secrets, unfair competition, breach of fiduciary duty, business

defamation, amounts owed on account, unjust enrichment, breach of personal guaranty,

conversion, conspiracy, and seeking declaratory relief. Mark’s Employment Agreement

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       Care Home filed a Chapter 7 bankruptcy petition on March 31, 2017 (Case
Number 17-44733). Pydipati is listed as the President; and the Statement of Corporate
Ownership indicates that “[t]here are no entities that directly or indirectly own 10% or
more of any class of the debtor’s equity interest” (Dkt. #3). The Statement Regarding
Authority to Sign and File Chapter 7 Petition indicates that Pydipati is “the only
shareholder of 100% interest in Care Home RX, Corp” and that he is “the sole owner of
the Corporation” (Dkt. #8).

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was terminated concurrently with the filing of the Complaint.

       One month later, Mark and Laureen filed Chapter 7 bankruptcy. On the deadline

set for objecting to discharge, Plaintiffs filed this adversary proceeding seeking a

determination that the debt is non-dischargeable under section 523, and seeking to deny

Mark and Laureen’s discharge under section 727.4

III.   STANDARD OF REVIEW

       Under Rule 56 of the Federal Rules of Civil Procedure, made applicable to this

proceeding by Federal Rule of Bankruptcy Procedure 7056, summary judgment must be

granted “if the movant shows that there are no genuine issues as to any material fact in

dispute and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);

CareToLive v. Food & Drug Admin., 631 F.3d 336, 340 (6th Cir. 2011). The standard for

determining whether summary judgment is appropriate is whether “the evidence presents

a sufficient disagreement to require submission to a jury or whether it is so one-sided that

one party must prevail as a matter of law.” Pittman v. Cuyahoga County Dep’t of

Children Services, 640 F.3d 716, 723 (6th Cir. 2011) (quoting Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 251-52 (1986)).

       The Court must draw all reasonable inferences in favor of the party opposing the

motion. Pluck v. BP Oil Pipeline Co., 640 F.3d 671, 676 (6th Cir. 2011). However, the



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       The United States Trustee also filed an adversary proceeding seeking to deny
Mark and Laureen’s discharge under section 727. The U.S. Trustee subsequently
dismissed the proceeding (Case Number 16-04496).

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nonmoving party may not rely on mere allegations or denials, but must “cit[e] to

particular parts of materials in the record” as establishing that one or more material facts

are “genuinely disputed.” Fed. R. Civ. P. 56(c)(1). A mere scintilla of evidence is

insufficient; there must be evidence on which a jury could reasonably find for the non-

movant. Hirsch v. CSX Transp., Inc., 656 F.3d 359, 362 (6th Cir. 2011).

IV.    ANALYSIS

       A.     Laureen’s Motion for Summary Judgment

       Plaintiffs’ Complaint challenging the dischargeability of the debt as to Laureen,

and her general denial of discharge, relies upon this Court’s opinion in Szachta v.

Thompson (In re Thompson), No. 15-04775, 2016 WL 1055582 (Bankr. E.D. Mich.

March 15, 2016). There, the Court found that an attorney’s officer manager was a co-

conspirator in a scheme to misappropriate client settlement proceeds: she was a signatory

on the bank account, routinely transferred money between accounts, and made false

representations to clients regarding their settlement proceeds. There is no evidence that

Laureen’s involvement with Care Home was even remotely similar to the office

manager’s role in Thompson.5

       Laureen is dismissed from this adversary proceeding.




       5
        Laureen’s only connection to Care Home was that she was employed as a billing
and filing technician from October 2015 through April 2016.

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       B.     Exceptions to Discharge Under 11 U.S.C. § 523

              1.      11 U.S.C. § 523(a)(2)(A)

       11 U.S.C. § 523(a)(2)(A) excepts from discharge “debt[s] for money, property,

services, or an extension, renewal, or refinancing of credit, to the extent obtained by[]

false pretenses, a false representation, or actual fraud[.]” To except a debt from discharge

under section 523(a)(2)(A) due to a false representation, Plaintiffs must prove:

       (1) the debtor obtained money through a material misrepresentation that, at the
       time, the debtor knew was false or made with gross recklessness as to its truth;
       (2) the debtor intended to deceive the creditor; (3) the creditor justifiably relied
       on the false representation; and (4) its reliance was the proximate cause of loss.

Rembert v. AT&T Universal Card Services (In re Rembert), 141 F.3d 277, 280-81 (6th

Cir. 1998). Garden-variety contract claims are dischargeable in bankruptcy. Brian

Plushanski Constr. Co. v. Aaroe (In re Aaroe), No. 11-1180 (RTL), 2011 WL 2886312, at

*7 (Bankr. D.N.J. July 14, 2011).

       Plaintiffs argue that Mark made three misrepresentations when he signed the

Employment Agreement: (1) he would assist in transferring Advanced’s prescriptions to

LTC, and continue to fill the prescriptions; (2) he would keep LTC’s proprietary

information confidential; and (3) he would not compete with LTC during his employment

and for three years after his employment.

       A review of the evidence shows that Mark, indeed, transferred prescriptions from

Advanced to LTC. For example, Kathleen Davis, the Administrator for Excelsior Home,

testified at her deposition that Mark told her to use LTC as her pharmacy:


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         Q:     Your affidavit states that in or around July of 2015[,] Mark and Mike
                informed Excelsior that Advanced Home Care Pharmacy would no
                longer be doing business but would be merging with LTC Pharmacy.

                                          *     *     *

         Q:     Did Mark or Mike tell Excelsior Home to use LTC as–after the
                merger?

         A:     Yes. Yes.

         Q:     And you did, in fact, use LTC for the pharmacy needs?

         A:     Hm-hmm. Yes.

(Dkt. #80, Ex. 5 at pp. 26, 28). While there is evidence that Mark later encouraged

Excelsior Home (and possibly other long-term nursing facilities) to switch from LTC to

Care Home, that fact fails to establish fraud in the inducement.6 At least at the outset,

Mark kept his promise to get Advanced’s customers to use LTC for their pharmaceutical

needs.

         Plaintiffs’ second alleged misrepresentation also fails as a matter of law: there is

also no evidence that Mark did not keep LTC’s trade secrets and proprietary information

confidential.

         However, the Court finds that–when viewed in a light most favorable to

Plaintiffs–there is a genuine issue of material fact regarding whether Mark made a

misrepresentation in his promise not to compete with LTC. Although the lynchpin of

many of Plaintiffs’ claims rest on their allegation that Mark had an ownership interest in


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          See, e.g., Davis’ deposition at pp. 38, 48 (Dkt. #80, Ex. 5).

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Care Home, there is no supporting paper trail. Instead, Plaintiffs’ evidence, such that it is,

relies largely on the testimony of Davis. For example, she testified at her deposition:

       Q:     Paragraph six also says, quote, Mark Musa stated that they formed
              Care Home RX. When were you told that?

       A:     I don’t remember. It was a little while.

       Q:     But it was Mark?

       A:     Yes, I believe it was Mark.

                                        *      *    *

       Q:     And you told the person on the phone [at LTC] that Mark Musa and
              Mike Musa told you that they weren’t working for LTC anymore?

       A:     Right. Yes.

       Q:     And you also told the person that they told you that they opened
              Care Home?

       A:     Hmm? Pardon me?

       Q:     It says, “I advised him that Mark Musa and Mike Musa told me that
              they were no longer working for LTC Pharmacy and that they had
              opened a new pharmacy called Care Home RX.”

       A:     Oh, yeah. Yes.

       Q:     That is correct?

       A:     Yes.

                                        *      *    *

       Q:     Your affidavit states, “Excelsior Home’s main contacts at Care
              Home RX were Mark and Mike.”

       A:     Yes.

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       Q:     Is that correct?

       A:     Yes.

       Q:     So when you wanted to deal with Care Home, you called Mark or
              Mike?

       A:     Yes.

(Dkt. #80, Ex. 5 at pp. 36-39).

       While this evidence is weak, it is sufficient to create a question of fact only as to

whether Mark fraudulently misrepresented that he would not compete with LTC.

              2.     11 U.S.C. § 523(a)(2)(B)

       Under section 523(a)(2)(B), Mark is not discharged from:
       any debt[] for money, property, services, or an extension, renewal, or
       refinancing of credit, to the extent obtained by[] use of a statement in
       writing[] that is materially false; respecting the debtor’s or an insider’s
       financial condition; on which the creditor to whom the debtor is liable for
       such money . . . reasonably relied; and that the debtor caused to be made or
       published with intent to deceive[.]

Schedule 7.1(e)(1) is a written document attached to the APA. In that document, Mark

represented that as of May 2015, Advanced had outstanding accounts receivables in the

amount of $111,025.70. Mark also estimated that Advanced would receive an additional

$40,695.15 from outstanding co-pays. Based upon these figures, Mark represented the

current anticipated accounts receivables total to be $151,720.85 (Dkt. #78, Ex. 3 at p. 38

(CM/ECF pagination)).

       There is a question of fact regarding whether the amount of the outstanding co-

pays was materially false. See Flagstar Bank, FSB v. Stricker (In re Stricker), 414 B.R.


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175, 181-82 (Bankr. W.D. Mich. 2009) (“A [financial] statement is materially false if the

information offers a substantially untruthful picture of the financial condition of the

debtor that affects the creditor’s decision to extend credit.”) (Citation omitted). The

evidence shows that Advanced did not charge its customers co-pays. See e.g., the

deposition testimony of Cynthia Rivers, the Office Manager for Hudson Home:

       Q:     Your affidavit states that Advanced Home Care Pharmacy would
              waive co-pays on prescriptions?

       A:     Yes.

       Q:     And that’s true?

       A:     Yes.
                                    *      *        *

       Q:     Did Hudson Home residents ever receive invoices from Advanced–

       A:     No.

       Q:     –trying to collect–

       A:     Nothing.

       Q:     –co-pays?

       A:     No.

(Dkt. #80, Ex. 6 at p.16); see also Davis’ deposition (Dkt. #80, Ex. 5 at pp. 21-22). If the

witnesses’ testimony is accurate–and Advanced did not charge its customers co-pays–a

trier of fact could determine Mark’s statement that Advanced was expecting $40,695.15

in outstanding co-pays was materially false.

       There is also a question of fact regarding whether the amount of outstanding

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accounts receivables was materially false. Mark testified at his deposition that Maple

Manor sent Advanced a $12,000.00 per-diem check, but it could not be located:

       Q:     Do you remember there was an issue where someone was looking for
              about a $12,000 check for co-pays from one of your accounts at
              Advanced?

       A:     It wasn’t co-pays, it was per diem check that Maple Manor had not
              yet paid to Advanced. It was the last per diem check.

                                          *        *     *

       Q:     Do you know if it was ever sent?

       A:     Yeah, it was sent.

                                          *        *     *

       Q:     Well, how do you know it was sent[?]

       A:     Well, Marcus [Evangelista] had told me that he had sent it.

(Dkt. #80, Ex. 4 at pp. 46-47). However, at his deposition, Evangelista (the General

Counsel for Maple Manor) denied any knowledge of the check (Dkt. #80, Ex. 7 at pp. 72-

73). If the mysterious $12,000.00 check was included in the outstanding

receivables–when Advanced was not actually owed that amount from Maple Manor–a

trier of fact could determine Mark’s statement that Advanced was expecting $111,025.70

in accounts receivables was materially false.

       Schedule 7.1(e)(1) is a document respecting Advanced’s (an insider’s) financial

condition.7 See Bank Iowa-West Des Moines v. Torres (In re Torres), 457 B.R. 13, 19

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       “The term ‘insider’ includes–if the debtor is an individual–corporation of which
the debtor is a director, officer, or person in control[.]” 11 U.S.C. § 101(31)(A)(iv).

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(S.D. Iowa 2011) (accounts receivable report, profit and loss statement, and balance sheet

are written statements concerning the debtor’s or an insider’s financial condition).

       Reasonable reliance is a factual determination to be made by a trier of fact based

on the totality of the circumstances. Bank One, Lexington, N.A. v. Woolum (In re

Woolum), 979 F.2d 71, 75 (6th Cir. 1992). Section 7.1 of the APA states:

       As a material inducement to Buyer to enter into this Agreement and to
       consummate the Closing Transactions contemplated hereby, Seller Parties
       hereby make the representations and warranties set forth in this Article[:]

                                        *     *     *

       (k)    Accounts Receivable. Schedule 7.1(e)([1]) attached hereto sets forth
              a complete list of all accounts receivables as of June 15, 2015. All
              accounts receivable are valid receivables representing sales actually
              made in the Ordinary Course, subject to no known setoffs or
              counterclaims, are current, and are, to the best of Seller’s knowledge,
              collectible.

(Dkt. #78, Ex. 3 at pp. 14, 18 (CM/ECF pagination)). Plaintiffs assert that they relied on

Mark’s representations within the APA, and would not have signed the document without

those representations. A trier of fact could find Plaintiffs reasonably relied upon the total

amount of outstanding receivables in signing the APA.

       Finally, the intent to deceive element does not require a subjective intent to have

another person rely on false financial documents. Rather, this element is satisfied if “a

debtor is reckless when submitting financial statements that he knows are not true.”

Investors Credit Corp. v. Batie (In re Batie), 995 F.2d 85, 90 (6th Cir. 1993). The Court

finds that questions of fact are raised with respect to the truthfulness of Mark’s


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representations in the APA, and, consequently, his intent to deceive.

                3.     11 U.S.C. § 523(a)(6)

       11 U.S.C. § 523(a)(6) provides that debts for “willful and malicious injury by the

debtor to another entity” are non-dischargeable. This section only applies to acts done

with actual intent.

       Plaintiffs allege that Mark diverted LTC’s customers and prescriptions to Care

Home. Mark admits that a question of fact exists as to this issue. However, there is no

evidence that Mark failed to keep LTC’s trade secrets and proprietary information

confidential.

       C.       General Denial of Discharge under 11 U.S.C. §§727(a)(2) and
                727(a)(4)(A)

       Plaintiffs argue that Mark should be denied a discharge under 11 U.S.C.

§§727(a)(2) and 727(a)(4).

       Section 727(a)(2) allows denial of discharge if “the debtor, with intent to hinder,

delay, or defraud a creditor . . . has . . . concealed–(A) property of the debtor, within one

year before the date of the filing of the petition; or (B) property of the estate, after the

date of the filing of the petition[.]”

       Section 727(a)(4)(A) allows denial of discharge if the debtor “knowingly and

fraudulently, in or in connection with the case[] made a false oath or account[.]”

       Plaintiffs contend that Mark should be denied a general discharge under section

727(a)(2) because he concealed: (1) four corporations, formed with Mike; (2) his interest


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in Care Home; and (3) two $2,500.00 payments Mike sent him in connection with the sale

of an automobile repair business. They contend Mark should be denied a general

discharge under section 727(a)(4)(A) because he affirmatively misrepresented his interest

in Care Home at the 341 Meeting of Creditors.

       The Court finds that Mark’s failure to initially disclose his interest in four shell

corporations is of no moment for two reasons: (1) it was an inadvertent omission–Mark

amended his schedules to include the corporations; and (2) the corporations were

valueless. See McDermott v. Schwartz (In re Schwartz), No. 13-4622-PJS, 2015 WL

1010490, at *6 (Bankr. E.D. Mich. March 3, 2015) (if the false information is the result of

mistake or inadvertence, the debtor remains entitled to a discharge) (quoting Keeney v.

Smith (In re Keeney), 227 F.3d 679, 685-86 (6th Cir. 2000)); see also Crews v. Topping

(In re Topping), 84 B.R. 810, 842 (Bankr. M.D. Fla. 1988) (“Where assets of some

substantial value are omitted from the schedules, the conclusion that they were omitted

purposefully with the fraudulent intent to conceal the assets in question may be

warranted. Only where the non-disclosed assets were of little or no value will such

fraudulent intent not be imputed.”) (Citation omitted); Lewis v. Summers (In re Summers),

320 B.R. 630, 645 (Bankr. E.D. Mich. 2005) (section 727(a)(2)(A) generally suggests that

the property concealed have some value).

       Plaintiffs also fail to present any evidence to rebut Mark’s contention that he spent

the $5,000.00 long before the bankruptcy petition was filed.

       The only issues that survive summary judgment are whether Mark had an

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ownership interest in Care Home, failed to schedule it as an asset, and affirmatively

denied such interest at the 341 meeting, all in violation of sections 727(a)(2) and

727(a)(4)(A).

V.     CONCLUSION

       The Court GRANTS Laureen’s motion in its entirety, as there is no evidence that

she was a party to the contractual agreements or conspired with her husband

       However, though the evidence on some claims is tenuous, the Court DENIES IN

PART Mark’s motion, because certain questions of fact remain. Specifically, the

following issues will go to trial:

       1.       11 U.S.C. § 523(a)(2)(A) solely as to whether Mark fraudulently
                misrepresented that he would not compete with LTC, because he had an
                ownership interest in Care Home;

       2.       11 U.S.C. § 523(a)(2)(B) solely as to whether Mark made a false written
                statement regarding Advanced’s outstanding accounts receivables and co-
                pays;

       3.       11 U.S.C. § 523(a)(6) solely as to whether Mark diverted LTC’s customers
                and prescriptions to Care Home; and

       4.       11 U.S.C. §§727(a)(2) and 727(a)(4)(A) solely as to whether Mark had an
                ownership interest in Care Home, failed to schedule his interest, and misled
                his creditors at the 341 meeting regarding his ownership interest.

       IT IS ORDERED.



Signed on September 15, 2017               /s/ Mark A. Randon
                                           Mark A. Randon
                                           United States Bankruptcy Judge



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